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                                         October 3, 2024
VIA ECF
Hon. Stanley R. Chesler, U.S.D.J.
United States District Court for the District of New Jersey
Martin Luther King Jr. Bldg. & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

        Re:      Teva Branded Pharmaceutical Products R&D, Inc., et al. v. Amneal
                 Pharmaceuticals of New York, LLC, et al.
                 Civil Action No. 2:23-cv-20964 (SRC-MAH)

Dear Judge Chesler:

         This firm, together with Goodwin Procter LLP and Williams & Connolly LLP, represents
Plaintiffs Teva Branded Pharmaceutical Products R&D, Inc., Norton (Waterford) Ltd., and Teva
Pharmaceuticals USA, Inc. (collectively, “Plaintiffs”) in connection with the above-referenced
matter. Pursuant to L. Pat. R. 4.6 and Paragraph 21 of the Amended Pretrial Scheduling Order
(D.E. 56), we write on behalf of all parties to provide the Court with a proposed schedule for the
Markman hearing.

        The parties completed claim construction briefing for the seven disputed claim terms on
September 27, 2024. The parties propose that each side have one hour to present its arguments.
To allow for further questions from the Court, the parties propose two and a half hours total for
the hearing. No live testimony will be presented at the hearing. The parties request that the Court
indicates its preferences as to the order of presentation.

       The parties have conferred and are available at the Court’s convenience for a hearing on
November 19-20, 2024 and December 5, 2024. If the proposed dates are not convenient for Your
Honor, the parties are happy to confer and provide the Court with additional availability.

        If this proposed schedule is acceptable, the parties respectfully request that Your Honor
“So Order” this letter and place it on the public docket. Additionally, if Your Honor has concerns
or comments on this proposal, the parties respectfully request further guidance as to Your Honor’s
preferred hearing format. As always, we thank the Court for its consideration of this submission
and ongoing attention to this matter and remain available should Your Honor or Your Honor’s staff
have any questions or require anything further.

                                      Respectfully submitted,

                                      s/ Liza M. Walsh

                                      Liza M. Walsh
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October 3, 2024
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                                                     SO ORDERED.


                                                     ____________________________
                                                     Hon. Stanley R. Chesler, U.S.D.J.
